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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

IN RE                                                        CASE NO. 6:19-bk-05810-KSJ
                                                             CHAPTER 7
Marco Melgar

            Debtor(s)
_________________________/

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                              FILED BY PINGORA


   NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

  Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
  paper without further notice or hearing unless a party in interest files a response
  within twenty-one (21) days from the date set forth on the attached proof of service
  plus an additional three (3) days for service if any party was served by U.S. Mail.

  If you object to the relief requested in this paper, you must file a response with the
  Clerk of Court at 801 n. Florida Avenue, Suite 555, Tampa, Florida 33602-3899,
  and serve a copy on the movant’s attorney Jason Weber, Esq. at Sirote & Permutt,
  P.C., 1000 Corporate Drive, Suite 150, Ft. Lauderdale, Florida 33334, and any
  other appropriate persons within the time allowed. If you file and serve a response
  within the time permitted, the Court will either schedule and notify you of a
  hearing, or consider the response and may grant or deny the relief requested
  without a hearing.

  If you do not file a response within the time permitted, the Court will consider that
  you do not oppose the relief requested in the paper, will proceed to consider the
  paper without further notice or hearing, and may grant the relief requested.

        COMES NOW Pingora Loan Servicing, LLC, its principals, investors, successors, and/or

assigns, if any, (hereinafter "Secured Creditor"), by and through its undersigned counsel of record,

Sirote & Permutt, P.C., and moves this Honorable Court to lift the automatic stay in the above-

referenced Debtor’s Chapter 7 bankruptcy and in support thereof, the Creditor avers as follows:

   1. This Honorable Court has jurisdiction to hear these matters and enter final orders pursuant

        to 28 U.S.C. §§ 157 and 1334; and 11 U.S.C. § 362. The Motion for Relief from Automatic
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   Stay constitutes a core proceeding and is a contested matter pursuant to Fed. R. Bankr. P.

   4001(a) and 9014.

2. The Debtor listed above (the “Debtor”) filed a voluntary petition pursuant to Chapter 7 of

   the Bankruptcy Code on September 5, 2019.

3. The Debtor(s) obtained a loan in the amount of $273,017.00 which was evidenced by a

   Promissory Note dated May 16, 2016 (the “Note”). See “Exhibit A” attached hereto.

4. Marco Melgar, unmarried man and Yesenia Jerez, unmarried woman executed a Mortgage

   dated May 16, 2016 (the “Mortgage”), to and in favor of FBC Mortgage, LLC and granted

   a firsts mortgage lien on real property (the “Property”) located at 11242 WISHING WELL

   LANE, CLERMONT, Florida 34711, and legally described as:




5. The Mortgage was recorded on May 19, 2016, in Book 4781, Page 996 (pages: 12) of the

   Public Records of Lake County, Florida. See “Exhibit B” attached hereto.

6. The Debtor is indebted to Secured Creditor in the amount of $263,667.44 principal balance,

   plus any additional interest, advances, costs and attorneys’ fees advanced by Secured

   Creditor, pursuant to the loan documents. See “Exhibit C” attached hereto.

7. The Debtor has failed to remit payment to Secured Creditor since the installment due on

   May 1, 2018 and, therefore, the interests of Secured Creditor are not being adequately

   protected.

8. Upon information and belief, said property has not been claimed exempt and the property

   has not been abandoned by the Trustee.

9. Secured Creditor maintains that cause exists pursuant to 11 U.S.C. § 362(d)(1) for the

   automatic stay to be lifted to allow Secured Creditor to pursue in rem remedies given that
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       its interests are not being adequately protected due to the failure of the Debtor(s) to make

       payments prior to the filing of the instant bankruptcy petition and that there is no equity in

       the subject property for the benefit of unsecured creditors of the estate.

   10. Furthermore, Secured Creditor’s security interest in the property is being significantly

       jeopardized by the Debtor(s) failure to make said payments while Secured Creditor is

       prohibited from pursuing lawful remedies to protect said security interest.

   11. Secured Creditor has incurred attorneys’ fees of $750.00 and costs of $181.00 as a result

       of having to file this Motion. Secured Creditor seeks an award of its fees and costs or,

       alternatively, leave to seek recovery of its reasonable bankruptcy attorneys’ fees and costs

       in any pending or subsequent foreclosure action.

   12. Secured Creditor respectfully requests the Court waives the fourteen (14) day stay of the

       Order Granting Relief pursuant to Bankruptcy Rule 4001(a)(3), so Secured Creditor can

       pursue its in rem remedies without delay.

   13. Pursuant to 11 U.S.C. § 362(e), Secured Creditor hereby requests that in the event a hearing

       is necessary that one be held within thirty (30) days.

   14. Secured Creditor requests that the Court Order provides that all communications sent by

       Secured Creditor in connection with proceedings against the property including, but not

       limited to, notices required by state law and communications to offer and provide

       information with regard to a potential Forbearance Agreement, Loan Modification,

       Refinance Agreement, Loss Mitigation Agreement, or other Loan Workout, may be sent to

       the Debtor(s).

   WHEREFORE, Secured Creditor respectfully requests that the automatic stay be lifted so

that it may pursue in rem remedies to protect its security interests in the Debtor(s) property outside
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of the bankruptcy forum, that the fourteen (14) day stay of the Order Granting Relief pursuant to

Bankruptcy Rule 4001(a)(3) be waived, that Secured Creditor be awarded its attorneys’ fees and

costs for filing this Motion, that in the event a hearing is necessary that one be held within thirty

(30) days, that the Order be binding and effective despite any conversion of this bankruptcy case

to a case under any other chapter of Title 11 of the United States Code, that Secured Creditor have

relief from applicable provisions of FRBP 3002.1 and for such other relief as the Court may deem

just and proper.


   I HEREBY CERTIFY in accordance with Fed. R. Bankr. P. 4001(a), 9014, and 7004 that a

copy of the above and foregoing Motion for Relief from the Automatic Stay was mailed, first class

                                                  9th day of _____________,
postage prepaid and or by Electronic Filing this ______       October       2019.


                                                      Respectfully submitted,

                                                      /s/Jason A. Weber

                                                      Jason A. Weber, Esq.
                                                      Fla. Bar No. 0051681
                                                      Counsel for Secured Creditor
OF COUNSEL:
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Copies furnished to:

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Orlando, FL 32801
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   &9)*#*5$                 UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

IN RE                                                       CASE NO. 6:19-bk-05810-KSJ
                                                            CHAPTER 7
Marco Melgar

            Debtor(s)
_________________________/


                                  AFFIDAVIT IN SUPPORT OF
                                MOTION FOR RELIEF FROM STAY


STATE OF ______________________ )

COUNTY OF ____________________ )


        BEFORE ME, the undersigned, Notary Public, personally appeared

_______________________, who is known to me and after being by me first duly sworn, deposes and

says the following:

        1.     I am making this Affidavit in connection with and support of the Motion for Relief from

stay filed by Movant, Pingora Loan Servicing, LLC as serviced by Flagstar Bank, FSB, its principals,

investors (hereinafter “Secured Creditor”), a secured creditor in the above styled bankruptcy proceedings.

        2.     Secured Creditor holds the subject Note and Mortgage.

        3.     I am familiar with the loan made by FBC Mortgage, LLC to Marco Melgar, which is the

basis for Secured Creditor’s status.

        4.     Flagstar Bank, FSB (“Flagstar”) maintains a computerized account of the loan including

all receipts disbursements, charges and credits.

        5.     The amount of the indebtedness and the nature and extent of default set forth in the motion

is derived from said computerized account of the Loan.
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       6.      I am the ________________________ (title) for Flagstar. In that capacity, I have access

to said computerized account records.

       7.      Said records are made at or near the time of the occurrence of the matters set forth by, or

from information transmitted by, a person with knowledge of those matters, the records are kept in the

course of Flagstar’s regularly conducted activity and are made by Flagstar as a regular practice.

       8.      In connection with this case, I have reviewed the aforementioned computerized account

records, the loan documents and other business records of Flagstar.

       9.      As of September 17, 2019, the subject loan has an outstanding principal balance of

$263,667.44, plus advances made, attorneys’ fees and costs, and interest accruing thereon in accordance

with the loan documents.

       10.     As of September 17, 2019, Debtors have defaulted on payments due to Secured Creditor

by failing to make payment due on May 1, 2018, and all subsequent monthly payments.

       11.     I have reviewed the documents attached as exhibits to the Motion and they are true and

accurate copies of the original documents.

       12. This Affidavit is signed under penalty of perjury as being true and correct based on my

personal knowledge of Flagstar’s books and business records and is intended to show that there is available

competent testimony which can be introduced at evidentiary hearing, if necessary.

FURTHER AFFIANT SAYETH NAUGHT

The facts stated herein are true. In verification of the same, I subscribed my signature hereto.


Sworn to by me on this _____ day of ____________________, 2019.

                                                      ________________________________
                                                      Affiant


Sworn to and subscribed before me on this _____ day of ____________________, 2019.

                                              _______________________________________
                                              Notary Public
                                              My Commission Expires: _________________
